                           UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                         OFFICE OF THE CLERK

                                           362 U.S. COURTHOUSE
                                           517 E. WISCONSIN AVE
                                           MILWAUKEE, WI 53202

STEPHEN C. DRIES                                                                        TEL: 414-297-3372
    CLERK                                                                               FAX: 414-297-3253
                                                                                       www.wied.uscourts.gov

                                            January 6, 2020


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          Re:      Doe v. Marian University
                   Case No. 19-CV-388

   Dear Counsel:

          I received the defendant's proposed Bill of Costs in the above case. In order to dispose of
   this matter without a hearing, I am asking plaintiff to advise me in writing on or before January
   21, 2020 whether there are objections to any of the costs.

           If there are no objections to the proposed costs, plaintiff should promptly notify the court
   in writing, with a copy to opposing counsel.

           If plaintiff does file an objection, it should be accompanied by a brief memorandum.
   Defendant will have until January 28, 2020 to file a response and any reply by plaintiff should be
   filed on or before February 4, 2020. The matter will then be decided on the written memoranda.
   Thank you for your cooperation.

                                                         Very truly yours,

                                                         STEPHEN C. DRIES
                                                         Clerk of Court

                                                 By:     s/ Amanda S. Chasteen
                                                         Deputy Clerk


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